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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   NEW ALBANY DIVISION


 UNITED STATES OF AMERICA                       )
                                                )
                  Plaintiff,                    )
                                                )
                  vs.                           )       Cause No. 4:11-cr-8-SEB-MGN-3
                                                )
 ZACHARY BABCOCK,                               )
                                                )
                  Defendant                     )



                    ORDER APPROVING AND ADOPTING MAGISTRATE
                      JUDGE=S REPORT AND RECOMMENDATION

         The Court, having considered the Magistrate Judge=s Report and Recommendation dated

 June 10, 2013, hereby approves and adopts it as an order of this Court.

         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the defendant=s

 supervised release is REVOKED. The defendant is committed to the Bureau of Prisons to serve a

 term of imprisonment of fifteen (15) months with no term of supervised release to follow. The

 Court further recommends the Defendant for placement in a drug and alcohol treatment program

 while incarcerated at the Bureau of Prisons.



         06/13/2013
 Date: ________________                                         _______________________________
                                                                 SARAH EVANS BARKER, JUDGE
                                                                 United States District Court
                                                                 Southern District of Indiana



 Copies to:

 All Electronically registered counsel of record via CM/ECF

 U.S. Marshal

 U.S. Probation
